
760 A.2d 848 (2000)
In the Matter of Christopher G. MARTUCCI.
No. 617 Disciplinary Docket No. 3.
Supreme Court of Pennsylvania.
October 5, 2000.
ORDER
PER CURIAM:
AND NOW, this 5th day of October, 2000, Christopher G. Martucci having been disbarred by consent from the practice of law in the State of New Jersey by Order of the Supreme Court of New Jersey dated July 12, 2000; the said Christopher G. Martucci having waived the issuance of notice and an order under Rule 216(a), Pa.R.D.E., directing him to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor, it is
ORDERED that Christopher G. Martucci is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
